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                               UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA




ROJELIO RAMOS,                                     Civil Action No.

            Plaintiff,

            v.,

LVNV FUNDING, LLC, &
FALONI & ASSOCIATES, LLC,                          PLAINTIFF REQUESTS A
a/k/a FALONI LAW GROUP, LLC,                       JURY TRIAL

            Defendants.


                                  Amended Complaint

            Rojelio Ramos files this complaint under the Fair Debt Collections

Practices Act, (“FDCPA”), 15 U.S.C. § 1692 et seq., and Pennsylvania Fair Credit

Extension Uniformity Act (“FCEUA”), 73 P.S. § 2270.3 et seq., against debt

collectors who demanded payment from him of a debt he did not owe, and avers:

             1.   Rojelio Ramos is a citizen of the Commonwealth of Pennsylvania

residing at 1033 W. Russell Street, Phila., PA 19140.

             2.   Law Offices of Faloni & Associates, LLC, a/k/a Faloni Law Group,

LLP (“Faloni”) is a law firm with a principal place of business at 165 Passaic Ave.,

Suite 301B, Fairfield NJ 07004.

             3.   Faloni is a debt collector within the definition of FDCPA and

FCEUA. Exhibit P-1. Faloni uses instrumentalities of interstate commerce or the

mails in its business the principal purpose of which is the collection of debts. Faloni


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also regularly collects or attempts to collect, directly or indirectly, debts owed or due

or asserted to be owed or due another.

             4.    LVNV Funding, LLC (“LVNV”), is a business entity with a

principal address at 625 Pilot Road, Suite 3, Las Vegas NV 89119.

             5.    LVNV is a debt buyer; LVNV purports to purchase defaulted debts

for the purpose of collecting them. Exhibit P-2.

             6.    LVNV is a debt collector within the definition of the FDCPA and

the FCEUA. LVNV uses instrumentalities of interstate commerce or the mails in its

business the principal purpose of which is the collection of debts. For purposes of the

FCEUA, LVNV would also qualify as a creditor.

             7.    LVNV files tens of thousands of collection suits annually in an

effort to collect debts it claims to have acquired.

             8.    Federal jurisdiction over this complaint arises under 15 U.S.C. §

1692k(d) (“FDCPA”). Venue is appropriate in the Eastern District of Pennsylvania

where the plaintiff resides and the acts alleged in the complaint occurred.

                                   Factual Allegations

             9.    Mr. Ramos never borrowed money from or did business with

LVNV.

             10.   LVNV nevertheless claimed that Mr. Ramos owed it money

based on a debt that LVNV claimed to have acquired by a chain of assignments.




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               11.   In reality, LVNV was not an assignee of a debt, and its

representations were false.

               12.   LVNV and Faloni dunned, called, and sued Mr. Ramos for

collection of the debt, falsely claiming that LVNV was the assignee of a debt that

in actuality it did not own.

               13.   LVNV issued debt collection communications to Mr. Ramos

directly or indirectly through various debt collectors it hired such as Faloni.

               14.   On or about December 22, 2017, LVNV filed a complaint against

Mr. Ramos for the debt in Philadelphia Municipal Court captioned, LVNV Funding

LLC v. Rojelio Ramos, No. SC-17-12-22-5793. Exhibit P-3.

               15.   Faloni filed the complaint for LVNV and represented LVNV

throughout the proceeding.

               16.   In the complaint, LVNV and Faloni falsely claimed to be an

assignee of a debt on which Mr. Ramos was obligated.

               17.   Mr. Ramos denied owing the debt and hired counsel to defend

the lawsuit.

               18.   The case came to trial on or about April 27, 2018. The only issue

was whether LVNV was an assignee of the alleged debt.

               19.   LVNV was not able to establish that it was an assignee of the

debt and the court entered a judgment for Mr. Ramos. Exhibit P-4.




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              20.    LVNV and Faloni caused Mr. Ramos to suffer damages, including

the emotional distress of being dunned, threatened for payment, sued, and the

expense of hiring counsel.

              21.    Mr. Ramos was frightened by being sued and frightened by the

possibility of a judgment being entered against him which would allow LVNV to

garnish his bank account or seize his personal possessions.

                                         Count I

              22.    This count is against LVNV for violating the FDCPA and FCEUA.

All of the preceding paragraphs are incorporated by reference.

              23.    LVNV used unfair and unconscionable means to attempt debt

collection against Mr. Ramos in violation of the FCEUA and 15 U.S.C. § 1692f,

including:

                     (a).   Demanding payment from Mr. Ramos of a debt he did not

owe;

                     (b).   Suing Mr. Ramos for a debt he did not owe.

              24.    LVNV used false, deceptive, and misleading representations or

means in connection with its attempt to collect a debt from Mr. Ramos in violation

of the FCEUA and 15 U.S.C. § 1692e, including:

                     (a).   Misrepresenting to Mr. Ramos that he was indebted to

LVNV when he was not; defendant made these misrepresentations before and

after filing suit.

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                   (b).   Falsely representing to Mr. Ramos that LVNV was an

assignee of a debt for which Mr. Ramos was alleged to be liable.

                                      Count II

             25.   This count is against Faloni for violation of the FDCPA. All of the

preceding paragraphs are incorporated by reference.

             26.   Faloni used unfair and unconscionable means to attempt debt

collection against Mr. Ramos in violation of 15 U.S.C. § 1692f, including:

                   (a).   Demanding payment from Mr. Ramos of a debt he did not

owe;

                   (b).   Suing Mr. Ramos for a debt he did not owe.

             27.   Faloni used false, deceptive, and misleading representations or

means of debt collection against Mr. Ramos in violation of 15 U.S.C. § 1692e,

including:

                   (a).   Misrepresenting to Mr. Ramos that he was indebted to

LVNV when he was not; defendant made these representation before and after

filing suit; and

                   (b).   Falsely representing to Mr. Ramos that LVNV was an

assignee of a debt for which Mr. Ramos was alleged to be liable.

             28.   As a direct and proximate result of these actions, Mr. Ramos

suffered damages including but not limited to the emotional distress of being

dunned for collection, sued, threatened with garnishment suit, and the expense of

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having to defend against it. The stress caused Mr. Ramos to lose sleep, have

digestive problems, and interfered with his ability to concentrate and enjoy life.

            WHEREFORE, Mr. Ramos requests relief as follows:

            (a). Award him actual and statutory damages;

            (b). Attorney's fees and costs, and

            (c). Any other relief that is just and appropriate.




                               Respectfully submitted,


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